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                           United States District Court
                                     for the
                           Southern District of Florida

 Sergio Diaz, Plaintiff,              )
                                      )
 v.                                   )
                                        Civil Action No. 19-25302-Civ-Scola
                                      )
 Tropic Oil Company and others,       )
 Defendants.                          )

            Order Approving FLSA Settlement and Dismissing Action
       The parties to this FLSA action have asked the Court to approve their
 settlement and to dismiss the case. (Jt. Mot. for Approval of Settlement and for
 Dismissal of Action with Prej., ECF No. 18.) Having reviewed the record, the
 relevant legal authorities, the settlement agreement, the Court finds the
 settlement agreement fair and reasonable.
       The Court grants the parties’ motion for approval of the settlement
 agreement (ECF No. 18), dismisses this action with prejudice, and directs the
 Clerk to close this case. The Court reserves jurisdiction to enforce the parties’
 settlement agreement. All pending motions are denied as moot.
       Done and ordered at Miami, Florida, on June 16, 2020.

                                           ___________________________________
                                           Robert N. Scola, Jr.
                                           United States District Judge
